Case 21-00833-5-JNC   Doc 45 Filed 04/14/21 Entered 04/14/21 14:50:43   Page 1 of 27
Case 21-00833-5-JNC   Doc 45 Filed 04/14/21 Entered 04/14/21 14:50:43   Page 2 of 27
Case 21-00833-5-JNC   Doc 45 Filed 04/14/21 Entered 04/14/21 14:50:43   Page 3 of 27
Case 21-00833-5-JNC   Doc 45 Filed 04/14/21 Entered 04/14/21 14:50:43   Page 4 of 27
Case 21-00833-5-JNC   Doc 45 Filed 04/14/21 Entered 04/14/21 14:50:43   Page 5 of 27
Case 21-00833-5-JNC   Doc 45 Filed 04/14/21 Entered 04/14/21 14:50:43   Page 6 of 27
Case 21-00833-5-JNC   Doc 45 Filed 04/14/21 Entered 04/14/21 14:50:43   Page 7 of 27
Case 21-00833-5-JNC   Doc 45 Filed 04/14/21 Entered 04/14/21 14:50:43   Page 8 of 27
Case 21-00833-5-JNC   Doc 45 Filed 04/14/21 Entered 04/14/21 14:50:43   Page 9 of 27
Case 21-00833-5-JNC   Doc 45 Filed 04/14/21 Entered 04/14/21 14:50:43   Page 10 of
                                       27
Case 21-00833-5-JNC   Doc 45 Filed 04/14/21 Entered 04/14/21 14:50:43   Page 11 of
                                       27
Case 21-00833-5-JNC   Doc 45 Filed 04/14/21 Entered 04/14/21 14:50:43   Page 12 of
                                       27
Case 21-00833-5-JNC   Doc 45 Filed 04/14/21 Entered 04/14/21 14:50:43   Page 13 of
                                       27
Case 21-00833-5-JNC   Doc 45 Filed 04/14/21 Entered 04/14/21 14:50:43   Page 14 of
                                       27
Case 21-00833-5-JNC   Doc 45 Filed 04/14/21 Entered 04/14/21 14:50:43   Page 15 of
                                       27
Case 21-00833-5-JNC   Doc 45 Filed 04/14/21 Entered 04/14/21 14:50:43   Page 16 of
                                       27
Case 21-00833-5-JNC   Doc 45 Filed 04/14/21 Entered 04/14/21 14:50:43   Page 17 of
                                       27
Case 21-00833-5-JNC   Doc 45 Filed 04/14/21 Entered 04/14/21 14:50:43   Page 18 of
                                       27
Case 21-00833-5-JNC   Doc 45 Filed 04/14/21 Entered 04/14/21 14:50:43   Page 19 of
                                       27
Case 21-00833-5-JNC   Doc 45 Filed 04/14/21 Entered 04/14/21 14:50:43   Page 20 of
                                       27
Case 21-00833-5-JNC   Doc 45 Filed 04/14/21 Entered 04/14/21 14:50:43   Page 21 of
                                       27
Case 21-00833-5-JNC   Doc 45 Filed 04/14/21 Entered 04/14/21 14:50:43   Page 22 of
                                       27
Case 21-00833-5-JNC   Doc 45 Filed 04/14/21 Entered 04/14/21 14:50:43   Page 23 of
                                       27
Case 21-00833-5-JNC   Doc 45 Filed 04/14/21 Entered 04/14/21 14:50:43   Page 24 of
                                       27
Case 21-00833-5-JNC   Doc 45 Filed 04/14/21 Entered 04/14/21 14:50:43   Page 25 of
                                       27
Case 21-00833-5-JNC   Doc 45 Filed 04/14/21 Entered 04/14/21 14:50:43   Page 26 of
                                       27
Case 21-00833-5-JNC   Doc 45 Filed 04/14/21 Entered 04/14/21 14:50:43   Page 27 of
                                       27
